966 F.2d 134
    141 L.R.R.M. (BNA) 2311, 141 L.R.R.M. (BNA) 2982
    FEDERAL LABOR RELATIONS AUTHORITY, Petitioner,v.DEPARTMENT OF COMMERCE;  National Oceanic and AtmosphericAdministration;  National Ocean Service, Respondents,National Treasury Employees Union, Amicus Curiae.DEPARTMENT OF COMMERCE;  National Oceanic and AtmosphericAdministration;  National Ocean Service, Petitioners,v.FEDERAL LABOR RELATIONS AUTHORITY, Respondent,National Treasury Employees Union, Amicus Curiae.
    Nos. 90-1852, 90-1859.
    United States Court of Appeals,Fourth Circuit.
    April 22, 1992.
    ORDER
    
      1
      There having been a request for a poll of the court on the petition for rehearing en banc, and a majority of the judges in regular active service having voted in favor thereof, it is accordingly ADJUDGED and ORDERED as follows:
    
    
      2
      The decision of the panel filed January 24, 1992 and reported in 954 F.2d 994 (4th Cir.1992) shall be, and the same hereby is, vacated.   It is FURTHER ORDERED that the clerk will see that these cases are placed on the calendar for hearing by the en banc court in the regular course of business.
    
    